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                                                             March 28, 2025

VIA ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

        We write jointly with the government to advise the Court of two topics about which the
parties are meeting and conferring, which may not require court intervention. Since the last court
date, the parties have been conferring regarding Federal Rule of Evidence 412 and its applicability
to this matter. We believe, based on our discussions, that neither party will need to seek court
intervention. To that end, the defense is providing a letter to the government today stating that the
defense does not anticipate introducing any evidence of any alleged victim’s “other sexual
behavior” or “sexual predisposition” as defined by Rule 412(a). Based on our discussions with the
government, we further understand the government also does not plan to introduce any evidence
governed by Rule 412(a). Accordingly, neither party will be filing a motion pursuant to Rule 412
today, but if any disagreements arise, both parties will bring this to the Court’s attention
immediately.

        Furthermore, the parties have been conferring regarding jury selection and whether the
jurors’ names should be known only to the parties and the Court, but not to the press and public,
for the duration of the trial through verdict. We expect to be able to reach agreement on this point,
but we have not yet. Because we do not believe this is an evidentiary issue that needs to be raised
by the April 1 motion in limine deadline, neither party intends to move on this by that deadline.
However, if we are unable to reach agreement, the government will move the Court at the
appropriate time.

       We appreciate the Court’s consideration.

                                                              Respectfully submitted,


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cc:   All counsel (by ECF)




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